                          EXHIBIT 5
Document Type                                               Page

A. Certificate of True Copy                                 1
B. Portal Docket 20240328                                   2
C. Warrant for Arrest Returned Served                       6
D. Release Order                                            15
E. Indictment                                               17
F. Order on Motion for Bond Reduction                       19
G. Request for Arraignment                                  20
H. Notice Bill of Indictment                                21
I. Appearance Bond                                          23




 Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 1 of 25
                               0001

Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 2 of 25
                                                      Lee Superior Court

                                                      Case Summary
                                                   Case No. 23CR230002-520


 STATE OF NORTH CAROLINA VS PAULINO                              §                   Location: Lee Superior Court
 CASTELLANOS                                                     §                   Filed on: 02/15/2023



                                                      Case Information

                                                               Offense                    Case Type: Criminal
Offense                                    Statute Degree                   Filed Date
                                                               Date                      Case Status: 02/15/2023 Pending
1. INDECENT LIBERTIES WITH CHILD           14-        FF       07/06/2011   02/15/2023
                                           202.1
2. ATTEMPT 1ST DEGREE SEX                  14-27.4    FB2      07/06/2011   02/15/2023
   OFFENSE

Related Cases

Bonds
Unsecured Bond            #23B007448
 02/23/2023               Posted
 Counts: 1, 2




                                                   Assignment Information

             Current Case Assignment
             Case Number 23CR230002-520
             Court         Lee Superior Court
             Date Assigned 02/22/2023



                                                     Party Information

Defendant       CASTELLANOS, PAULINO
                 322 WINTERLOCKEN DR
                 SANFORD, NC 27330-8904
                 Other
                 Male
State           STATE OF NORTH CAROLINA BARTHOLOMEW, TIFFANY MARIE
                 Other                  Retained

Law         SOTO, I
Enforcement 225 EAST WEATHERSPOON ST
Officer      LEE County
             SANFORD, NC 27330



                                                           Case Events

09/28/2023                                                                                                    Index # 20
               Judgment/Other
                 MOTION TO MODFY BOND CONDITIONS IS DENIED WITHOUT PREJUDICE.
                 Created: 09/28/2023 11:13 AM
07/07/2023                                                                                                    Index # 19
               Other/Miscellaneous
                                                            PAGE 1 OF 4                        Printed on 03/28/2024 at 10:40 AM

                                                               0002

             Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 3 of 25
                                                          Lee Superior Court

                                                          Case Summary
                                                       Case No. 23CR230002-520
                STATE WITNESS LIST
                Created: 07/07/2023 8:39 AM
07/07/2023                                                                                      Index # 17
              Other/Miscellaneous
                CARRY OVER ORDER
                Created: 07/07/2023 8:34 AM
07/07/2023                                                                                      Index # 1 5
              Other/Miscellaneous
                JURY SEATING CHART
                Created: 07/07/2023 8:28 AM
07/07/2023                                                                                      Index # 13
              Other/Miscellaneous
                DEFENSE WITNESS LIST
                Created: 07/07/2023 8:23 AM
07/05/2023                                                                                      Index # 1 1
              Verdict
                MISTRIAL
                Created: 07/05/2023 5:48 PM
07/05/2023                                                                                      Index # 12
              Judgment/Other
                MOTION FOR MISTRIAL ALLOWED
                Created: 07/05/2023 5:48 PM
06/30/2023    Other/Miscellaneous                                                               Index # 18
                CARRY OVER ORDER
                Created: 07/07/2023 8:35 AM
06/16/2023                                                                                      Index # 16
              Other/Miscellaneous
                CARRY OVER ORDER
                Created: 07/07/2023 8:30 AM
04/12/2023                                                                                      Index # 10
              Judgment/Other
                FORM 305
                Created: 04/12/2023 2:27 PM
02/24/2023
              Attachment
                 APPEARANCE BOND
                 Created: 02/24/2023 9:23 AM
02/23/2023                                                                                      Index # 9
              Bond Posted
                Created: 02/23/2023 2:40 PM
02/23/2023                                                                                      Index # 8
              Notice of Return of Bill of Indictment
                Created: 02/23/2023 12:18 PM
02/16/2023                                                                                      Index # 5
              Other/Miscellaneous
                Request for Arraignment
                Created: 02/16/2023 4:02 PM
02/15/2023                                                                                      Index # 4
              Motion for Bond Modification
                Judgement Order
                Created: 02/15/2023 3:27 PM
02/13/2023                                                                                      Index # 6
              Indictment Issued
              Charges:
                1. INDECENT LIBERTIES WITH CHILD (1118)
                2. ATTEMPT 1ST DEGREE SEX OFFENSE (1144)
                 Created: 02/21/2023 11:33 AM
                                                             PAGE 2 OF 4         Printed on 03/28/2024 at 10:40 AM

                                                                0003

             Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 4 of 25
                                                      Lee Superior Court

                                                      Case Summary
                                                   Case No. 23CR230002-520
02/10/2023                                                                                             Index # 7
              Warrant for Arrest Returned Served
                Created: 02/22/2023 4:14 PM
02/10/2023                                                                                             Index # 2
              Release Order Issued
                Created: 02/15/2023 8:21 AM
02/08/2023                                                                                             Index # 1
              Warrant For Arrest Issued
                Created: 02/15/2023 8:12 AM



                                                        Dispositions

02/28/2023 Disposition
            2. ATTEMPT 1ST DEGREE SEX OFFENSE
               VD-Superior Dismissals w/o Leave by DA - No Plea Agreement
           Created: 02/28/2023 7:56 PM



                                                         Hearings

11/04/2024 Jury Trial (10:00 AM)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
           Created: 08/29/2023 4:04 PM
09/28/2023 Administrative Hearing (9:30 AM) (Judicial Officer: GILCHRIST, C WINSTON)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
                Continued
           Created: 09/10/2023 3:36 PM
08/29/2023 Administrative Hearing (9:30 AM) (Judicial Officer: GILCHRIST, C WINSTON)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             MINUTES - 08/29/2023
             Jury Trial (11/04/2024 at 10:00 AM)
                Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             Created: 08/29/2023 4:04 PM
             Continued;
                Continued
           Created: 08/28/2023 2:15 PM
08/28/2023 Administrative Hearing (9:30 AM) (Judicial Officer: GILCHRIST, C WINSTON)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             MINUTES - 08/28/2023
             Administrative Hearing (08/29/2023 at 9:30 AM) (Judicial Officer: GILCHRIST, C WINSTON)
                Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
                   Continued
             Created: 08/28/2023 2:15 PM
             Continued;
                Continued
           Created: 07/06/2023 2:18 PM
06/12/2023 Jury Trial (10:00 AM) (Judicial Officer: GILCHRIST, C WINSTON)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             03/27/2023 Reset by Court to 06/12/2023
             MINUTES - 06/12/2023
             Administrative Hearing (08/28/2023 at 9:30 AM) (Judicial Officer: GILCHRIST, C WINSTON)
                Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
                   Continued
             Created: 07/06/2023 2:18 PM
             Hearing Held;
                Hearing Held
           Created: 03/09/2023 2:35 PM
                                                      PAGE 3 OF 4                      Printed on 03/28/2024 at 10:40 AM

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             Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 5 of 25
                                                    Lee Superior Court

                                                    Case Summary
                                               Case No. 23CR230002-520
02/15/2023 First Appearance Hearing (9:00 AM)
             Resource: Location 520-FAPP Lee Co. Courthouse, Courtroom First Appearance
           Created: 02/15/2023 8:28 AM



                                                     Bond Settings

02/15/2023 Bond Setting
           Set by Judge $75,000.00 Unsecured Bond



                                                Financial Information

             Defendant CASTELLANOS, PAULINO
             Total Financial Assessment                                                                         15.00
             Total Payments and Credits                                                                          0.00
             Balance Due as of 03/28/2024                                                                       15.00
03/24/2023 Transaction Assessment                                                                               15.00




                                                       PAGE 4 OF 4                        Printed on 03/28/2024 at 10:40 AM

                                                          0005

           Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 6 of 25
         File No.                                                          Law Enforcement Case No                               LID No             SID No               FBI No.
                                                                                                             17005929
                               23CR230002-520
                                                                            SANFORD POLICE DEPARTMENT
                  WARRANT FOR ARREST
            THE STATE OF NORTH CAROLINA VS.                                                                                                                                                                        ¥
    Name And Address Of Defendant
    PAULINO CASTELLANOS                                                     STATE OF NORTH CAROLINA                                          In The General Court Of Justice
    322 WINTERLOCKEN DR                                                                                                                             District Court Division
                                                                                                  LEE
                                                                                                                            County
                    SANFORD                          NC       27330-8904
               Lee COUNTY                                                                                           OFFENSE(S) (see AOC-CR-100 Continuation(s) for charging text)
                                                                            Count
                                                                                                                                 Offense
                                                                                                                                                                                      Ofense in Violation             Offense
                                                                             No.                                                                                                           OfG.s.                      Code
    Race                Sex             Date Of Birth           Age
              U               M             06/09/1956                66                    INDECENT LIBERTIES WITH CHILD                                                                      14-202.1                1118

    Social Security No /Tax ID No.      Drivers License No &                   4
                                                                                         F-ATTEMPT 1ST DEGREE SEX OFFENSE                                                                       14-27.4                 1144

    Name ur verenaants employer


    Date Of Offense
                               Misdemeanor Offense Which Requires
         07/06/201
    Date Of Arrest & Check Digit No. (as shown on fingerprint card)


    Complainant Name (and address, if Complainant is an officer)
    I. Soto

    SANFORD POLICE DEPARTMENT
    225 East Weatherspoon St
                    SANFORD                     NC             27330
                     LEE
    Witness Information




     TO ANY OFFICER WITH AUTHORITY AND JURISDICTION TO EXECUTE A WARRANT FOR ARREST FOR THE OFFENSE(S) CHARGED IN THIS WARRANT:
     |, the undersigned, find that there is probable cause to believe that on or about the date of offense shown and in the county named above the defendant named above
     unlawfully, willfully, and feloniously did commit the offense(s) set forth above and on the attached AOC-CR-100 Continuation(s), which is (are) incorporated by reference.
     This act(s) was in violation of the law referred to in this Warrant For Arrest. This Warrant For Arrest is issued upon information furnished under oath by the complainant
     listed. You are DIRECTED to arrest the defendant and bring the defendant before a judicial official without unnecessary delay to answer the charge(s) above.

    Date issued            Name Of issuing Oficial                                 Signature                                                                                        Assistant cSC
                                                                                                                                             [x] Magistrate   []Oeputycsc                                 Clerk Of Superior Court

*
         02/08/2023        Hq          St     ffeler                                                                                         (] district Court Judge     Superior Court Judge
    Location Of Court                                                                                        Court Date                                                Court Time


                                                                                    WAIVER OF PROBABLE CAUSE HEARING
     The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
    Date Waived            Signature Of Defendant                                              Name Of Attorney                                                        Signature Of Attorney

                                                                                                             0006
                                                                                                                  (Over)
         AQC-CR-100, Rev. 1/23, © 2023 Administrative Office of the Courts                                                                                                               VRA
                                                     Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 7 of 25
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                              UlnUl'I,   I        f url




          Name 0/ Defendant
          PAULINO CASTELLANOS
                                   STATE VERSUS                                                  LEE
                                                                                                                         County               '   File No.
                                                                                                                                                                  230m3oooz-520


                                                                            NOTE. Use this page to set forth the charging text for each offense listed on the AOC-CR-too. GS 15A-924(a)(5).
                                                                                                                     ,

          05,9 or ,ssumce or w'mm Fomﬂes,
                                           02/08/2023

                                                                                    |
                                                                                          OFFENSES (continued)             ['13s-
            Countt.             Offense:       F- INDECENT LIBERTIES WITH CHILD
          Charging Text For This Count
           On or about the date of offense shown and in the county named above the defendant unlawful 1y, willﬁtlly, and feloniously did take and attempt to take immoral, improper and
           indecent liberties with Y. C. ,who was under the age of 16 years at the time, for the purpose of arousing and gratifying sexual desire. At the time, the defendaitt was over 16 years of
           age and at least five years older than that child. In violation ofG.S. i4-202.I(a)(l).




            Countz              Offense: F      -
                                                    ATTEMPT IST DEGREE SEX OFFENSE
          Charging Text For This Count
          On or about the date of offense shown and in the county named above the defendant unlawfully, willﬁilly, and feloniously did attempt to engage in a sex offense with Y. C. ,by force
          and against that victim's will.




            AOC-CR-IOO Continuation. Rev. 1123                                                    0007
            © 2023 Administrative Office of the Courts                                                                           0°" ti ""3"" Page            of _ Continuation Pages
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                                                            Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 8 of 25
FIIIILCU VII. 4! I'UILULJ, IUAD HIVI



     Name 0! Detendant
                           STATE VERSUS                        _
                                                                                             LEE
                                                                                                                     County                 }   File No.
                                                                                                                                                                23CR230002-520

      PAULINO CASTELLANOS                                                                                        .                          .

         or    or mm", "Hum,                                       .   NOTE: Use this page to set faith the charging text for each offense iisted on the AOC-CR-too. G.S. 15A-924(a)(5).
                                     02/08/2023
                                                          rt                         OFFENSES (continued)                        .1
                                                                                                                                 '5?    .



                                                                               |                                       |        .~'€\.'-'




        Count 3.       Offense:
      Charging Text For This Count




        Count 4.       Offense:
      Charging Text For This Count




        AOC-CR-too Continuation. Rev. 1/23                                                    0008
        © 2023 Administrative Ofﬁce of the Courts                                                                             Continuation Page            of       Continuation Pages
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                                                  Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 9 of 25
let-tun      van. (.1 a utavau,          I   U.K.J NUI



          Name Of Defendant
          PAULINO CASTELLANOS
                               STATE VERSUS                                                      LEE
                                                                                                                        County                '   File No.
                                                                                                                                                                  2301230002520


          Date Of issuance 0! Warrant For Arrest                            NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-too. GS 15A-924(a)(5).
                                         02/08/2023
                                                                   -_._.:           |
                                                                                          OFFENSES (continued)             I        iii"
             Count 5.       Offense:
          Charging Text For This Count




             Count 6.       Offense:
          Charging Text For This Count




            AOC-CR-IOO Continuation. Rev. 1I23                                                    0009
            © 2023 Administrative Ofﬁce of the Courts                                                                            Co ntin uatlon Page     _
                                                                                                                                                             of       Continuation Pages
                                                         Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 10 of 25
IIIILGU urn. L! l WLU'LQ, Iu.l.;.r ruvr




     Name 0! Defendant
                          STATE VERSUS                      '.
                                                                                        LEE
                                                                                                              County                 }   Flie No.
                                                                                                                                                         23CR230002-520

     PAU LINO CASTE LLANOS                                   -




     Dal e or ,mance or Wynn, ForArrest                           NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-too. as. 15A-924(a)(5).
                                    02/08/2023

                                                                          |
                                                                                OFFENSES (continued)             I
                                                                                                                           1.5.
                                                                                                                           gm.

       Count 7.       Offense:
     Charging Toxt For This Count




       Count 8.       Offense:
     Charging Text For This Count




       AOCCR-100 Continuation. Rev. 1i23                                               0010
       © 2023 Administrative Ofﬁce of the Courts                                                                       Continuation Page            of       Continuation Pages
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                                                 Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 11 of 25
IIIILGu UJI- L!   I   wLqu, I U.L'J NIH
                                                                                                                                                File No.
                          STATE VERSUS                                                         LEE                   County                                          23011230002520
     Name 0! Defendant
     PAULINO CASTELLANOS
     Date or ,ssuance or Wane", F°,A,,es,                        ,
                                                                         NOTE: USe this page to set forth the charging text for each offense listed on the AOC-CR-ioo. G.S. 15A-924(a)(5).
                                     02/08/2023
                                                                                                                       J
                                                                     i




                                                            ..                   1
                                                                                       OFFENSES (continued)
        Count 9.       Offense:
     Charging Text For This Count




        Count 1 0.       Offense:
      charging Text For This Count




        AOO-CR-100 Continuation. Rev. 1/23                                                      0011
        (0 2023 Administrative Ofﬁce of the Courts                                                                             Co ntin uation Page              of       Continuation Pages
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                                                                                                                                                           __



                                                  Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 12 of 25
IIIILGU ml. Lt IWLULJ, IU.£.U mun



    Name Oi De/endant
                             STATE VERSUS                                                                        LEE                           County                             }   Frie No.

                                                                                                                                                                                                          23CR230002-520

    PAULINO CASTELLANOS                                                                   if the Warrant For Arrest is not served within one hundred and eighty (180) days. it must be retumed to the Clerk of
    Date Of issuance O! Wenent For Arrest                                                 Court in the county in which it was issued with the reason for the failure of service noted thereon.
                                       02/08/2023
                                                           «we-ea.
                                                           -5'..',_.':
                                                                         -




                                                                         .   11%
                                                                              ,(                    I
                                                                                                            RETURN OF SERVICE                          L             1'7
                                                                                                                                                                           "




          I
              certify that the Warrant For Arrest issued in thls caSe on the date noted above for the defendant named above. was received and served as follows:
    Date Received                                                  Dare Served                                         Time Served                                                          Dete Returned

                            2/10123                                                -'2 / I b I 23                                          I   '
                                                                                                                                                   '
                                                                                                                                                       0U       mm                                             2/i0)23
                By arresting the defendant and bringing the defendant before:
    Ne'me or Judicial Official

                                           MM: simia-                                   Shrxliﬁelir
      E] The Warrant WAS NOT served For the following reason.


    Signature 0! Oliicer Making Return


    Department OrAgency Oi Officer
                                                 Min/ii;            W                                                        Name 0! Officer (type or print)

                                                                                                                                                                 M.BU\\0(\c
                                        Sm nLoreL                            (Ala NON/timid-
                                                                                       REDELIVERY/REISS UANCE                                               I

    Date                       Name or Clerk (type or print)                                            Signature Of Clerk
                                                                                                                                                                               [:I Deputy csc    UAssisrant csc   E] Clerk or Superior Court
                                                               '


                                                                                         RETURN FOLLOWING REDELIVERYIREISSUANCE
                        '
    '3'
                                                                                                                                                                      I§:-.                          ..                                        I



          i certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above. was received and served as follows:

    Date Received                                                  Dela Served                                          Time Served                                                          Date Returned



          [I By arresting the defendant and bringing the defendant before:
    Name 0! Judicial Ofﬁcial



          D The Warrant WAS NOT served for the following reason:

    Signature Of Oliicer Matting Retum                                                                                       Meme 0! Oiiicer (type arpdnt)



    Department OrAgency 0! Ofﬁcer




              AOC-CR-100 Return. Rev. 1/23                                                                            0012
              © 2023 Administrative Ofﬁce of the Courts                                                          ﬁrininnl
                                                     Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 13 of 25
IIILUU     VII.    If                   |
                                            v.44 NVI



     Name 0! Defendant
                                   STATE VERSUS                                                                       LEE          County                                 }   File No.
                                                                                                                                                                                23CR230002-520
                                                                                 NOTE: Use this page to enterjudgment on a WarrantForAnest. Use this Judgmentpage only ifimposing a single, consolidated judgment
     PAULINO CASTELLANOS                                                                   for all offenses of conviction charged under this ﬁle number. Do not use this Judgment page to impose sentence: (I) if imposing separate
     Date Of issuance Of Warrant ForArrest                                                judgments for separate offenses of convictlbn charged under this file number: (fl) to impose supervised probation; or (ill) for DWI sentences
                                                                                           under G. S. 201 79. For DWI, use A OC-CR-342 (active) or AOCCR-310 (probation). For structured sentencing offenses, use AOC-CRSOZ
                                       02/08/2023                                          (active) orAOC-CR-604 (probation).

     Dlslnct Attorney
                                                                                                         i           JUDGMENT                 [

                                                            [:1 Def Waived Altomey   E]   Def. Found Ilbt Indigent   Attorney For Defendant                           [:1 Appointed                       pRIOR CONVICTIONS:
                                                            [:1 Def. Denied Appointed Counsel                                                                         E] Retained        NoJLevol:    o    [1 HO)_[j       _i:] Ill (so)
                                                                                                                                                                                                                      II (MI



     OFFENSES: The following offenses, which are set forth by Count No. in the Warrant For Arrest issued in this case on the date noted above for the defendant named above. are the
     subject of this Judgment:

         Count 1        PLEA: [:1 guilty [:I not guilty     D no contest                                               VERDICT. [jgullty [:1 not guilty                                      M.CL.: Elm         [Ill [:12 E13
         Count 2        PLEA   :   E] guilty [:I not guilty I:] no contest                                             VERDICT: E] guilty         0 not guilty                               M.CL.:       DA1D1D2 Us
         Count 3        PLEA   =
                                   E] guilty E] not guilty |:| no contest                                              VERDICT: [jgullty          [3 not guilty                              M.CL.: Elm         Ell D2 D3
         Count 4        PLEA : E] guilty      E] not guilty [:1 no contest                                             VERDICT: |:| guilty        [I not guilty                              M.CL.: [ZlAl       Ell E12 [is
         Count 5        PLEA : 1:] guilty     [3 not guilty [3 no contest                                              VERDICT:    D guilty [3 not guilty                                    M.CL.:       DAl Ell [:12 D3
         Count 6        PLEA : El guilty      E] not guilty C} no contest                                              VERDICT: C] guilty         I:] not guilty                             M.CL.: Elm         Ell E12 [:13
         Count 7        PLEA : El guilty      E] not guilty C] no contest                                              VERDICT: [:1 guilty        E] not guilty                              M.CL.: Elm         Ell E12 D3
         Count 8        PLEA : 1:} guilty     E] not guilty [I no contest                                              VERDICT: [:1 guilty        I: not guilty                              M.CL.:       BM 111 D2 [13
         Count 9        PLEA : D guilty [:1 not guilty I:] no contest                                                  VERDICT: [jguilty          E] not guilty                              M.CL.: Elm         Ell D2 [:13
         Count 10       PLEA : Cl guilty      [3 not guilty El no contest                                              VERDICT: E] guilty         E] not guilty                              M.CL.: Elm         Ell D2 D3




                                                                                                                          (Over)


          AOC-CR-100 Judgment. Rev. 1/23                                                                              0013
          © 2023 Administrative Ofﬁce of the Courts
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                                                       Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 14 of 25
-..._          -...        _.
                                     .._,       .w.-u     I-   "VI




         Name O! Defendant
                                            STATE VERSUS                                   -.




                                                                                                I


                                                                                                                        ' NOTE:
                                                                                                                                                            LEE
                                                                                                                                                                                            County                     }    File ND.
                                                                                                                                                                                                                                               23012230002520

                                                                                                                                    U t h's Judgnt e nt page only dimposlng a single. wnsoiidatedludgme r roraIi offenses of conviction charged under this ﬁle number. Do not use di'I s
         PAULINO CASTELLANOS                                                                    I                                   JjsgnIenf page to impose sentence. (I) ifl'mposng sepalafejudgmenrs I'orsepaiate olfenses ofoonvicb'on charged under this ﬁle number: (ii) to impose
                                                                                                    I
                                                                                                                                    supervisedprobatr'on; oriﬁIJforDM/l sentences underG.S 20-179 Forowi useAOG-CRC42(ecave)orAOC-CR-310(probaﬁon) Forstecturedsentencr'rrg
                                                                                                    l
                                                                                                                                    oﬁenses, use AOC 68-602 (active) orAOGCR 604 (probation)
                                                                                           -|
                                                                                                                                        |
                                                                                                                                                     JUDGMENT (continued)                       I               I

         JUDGMENT? The defendant appeared ln open court and freely. voluntarily and understandingiy entered the plea(s) on Side One. 0n the verdictts) from Side One it is ORDERED that all offenses oi
         conviction. If more than one be consolidated for
                                                       orud] gment with Count No.      (Locum of lead offense) and that the defendant:
                                                              Fine/Penalty  Amount Of                                               Costs
         D pay the following ﬁne/penalty and costs: $                             $
                                                                                                        j




         D be imprisoned for a term of          days custody th;e U
                                                    in         of          sheriff. D MCP. D Other.'                                                       Pretrial credit                                                  .                             days served.
         D Work release D ls recommended. D is not recommended. (NOTE: order work release, use form AOC-CR-soz to Impose judgmentJ      To

         D The Court ﬁnds that a D longer D shorter period of probation than that which Is specified in G S.15A-1343.2(d) ls necessary
         D Execution of the sentence is suspended and the defendant is placed on unsupervised probation' for   months subject to the following conditions:
                1. commit no               criminal offense In any jurisdictlon.   2. possess no firearm. explosive or other deadly weapon listed In G.S. 14-269.
                           3. remain gainfully and suitably employed. or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable employment and abide by all rules of the institution.
                           4. satisfy child support and family obligations. as required by the Court. 5. Submit to the taking of digitized photographs. including photographs of the defendant's face. scars. marks. and tattoos.
                              to be included in the defendant's records.       6. pay to the Clerk the costs of court and any additional sums shown below.
                               Costs                       Fine                         Restitution '°               Anomey's Fee              Community Sen/ice Fee      Other                  TotaiAmount Due
                                                                                                                                                                               '
                                 $                                  $                                       $               S                        S                               S                         $
                                 "Nam e(s). addressies). and amouni(s) for aggrieved panyiles) to rcocivo restitution: (NOTE T0 CLERK: Record SSN or Tex ID No. of eggrle ved partyfies) onAOC-CR-362. 'Certiﬁcetion Of identity (Victims' Restitutionjl
                                 Certification Of identity (Witness Attendance). ')



             D 7 complete    .        hours of community service during the ﬁrst     days of probation. as directed by the Judicial services coordinator. and pay the fee prescribed by G.S. 1438-1483 within                                                                       days.
             D  a  not be found
                             .  in or on the premises of the complainant  or
             D 9. not assault. communicate with or be in the presence of the complainant or
             D o provide a DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required)
                       1     .


             D 11. Other:

         D The Court ﬁnds just cause to waive costs as ordered on attached DAOC-CR-MS. DAOC-CR-Ste. D Other:
         It is ORDERED that this: Judgment ls continued upon payment of costs.
                                  case be consolidated foriudgment with
                                                  D
                                  sentence is to run at the expiration of the sentence'In
         D  COMMITMEN1': ll Is ORDERED that the Clerk deliverw1_o      certif ed copies of this Judgment and Commitment to the sheriff and that the sheriff cause the defendant to be retained'in custody to
                         serve the sentence imposed or until the defendant shall have complied with the conditions of release pending appeal.
         PROBABLE CAUSE:                        D
                                Probable cause ls found as to all Counts except                                                 . and the defendant is bound over to Superior Court for action by the grand jury.


                                                D
                               No probable cause is found as to Count(s)                                                                                  of this Warrant and the Countis) is dismissed.
         Date                 Name Of District Court Judge Or Magistrate (type or print)                         Signature or District Court Judge Or Magistrate
                                                                                                            i



                                                                                                :1                                           |
                                                                                                                                                       APPEAL ENTRIES                       |
                                                                                                                                                                                                                                                                                           I




         DThe defendant. in open court. gives notice of appeal to the
         D The current pretrial release order Is modif' ed as follows:
                                                                                                            D
                                                                                                            I



                                                                                                            I
                                                                                                                         District     D Superior        Court.


         Date                                    Name Of District Court Judge 0r Magistraie {type orpn'nt)                                                          Signature Of District Court Judge or Magistrate
                                                                                                                |




                                                                                                                |




                                                                       27:3                                                                             CERTIFICATION
                                                                                                                                                                                                                                                          j
                                                                                      --
                                                                                                                                                 I                                      I
                                                                                                                                                                                                                                                                                           |




         l certify that this Judgment is a true and complete copy of the original Which is
                                                                                                                                        05'9                        Date Delivered To Sheriff       Signature                                                 pep. csc    Dust.   csc
         on file in thIs case.                                                                                      .
                                                                                                                                                                                                                                                              Clent orSuperior Cour!
                                                                                                                                                            0014
           AOC-CR-100 Judgment. Side Two. Rev. 1/23. © 2023 Administrative Ofﬁce of the Courts
                                                                                                                                                            rininal
                                                                          Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 15 of 25
                                                                                                        File No
 STATE OF NORTH CAROLINA                                                                                             23CRS230002-520
                             LEE                                                                        In The General Court Of Justice
                                                          County                                        District         Superior Court Division
                                     STATE VERSUS
Name And Address Of Defendant
PAULINO CASTELLANOS                                                                                     CONDITIONS OF RELEASE
322 WINTERLOCKEN DR                                                                                      AND RELEASE ORDER

SANFORD                                                             NC            27330                                                                 G.S. Chapter 15A, Art. 25, 26
                                                                                                Process No.                                 Amount Of Bond
                                                                                                #                                           $                 75,000.00
File Numbers And Offenses
23CR230002                F INDECENT LIBERTIES WITH A CHILD; ATT IST DEG SEX OFF




    See Attachment.
Location Of Court                                                                                                                        Date              Time
SANFORD NC ROM 001                                                                                                 District   Superior    02/13/2023        09:00     Bam
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
       our release is authorized upon execution of your.               written
                                                                      PROMISE to appear        UNSECURED BOND in the amount shown above
          CUSTODY RELEASE                    &
                                       SECURED BOND n the amount shown above (NOTE: Give a copy of this order to any surety who posts bond.)
          HOUSE ARREST with ELECTRONIC MONITORING administered by             ney,                                                   and the SECURED
          BOND above. You may leave your residence for the purpose(s) of       mployment         counseling       course of study     vocational training
          HAVE NO CONTACT WITH ANY PROSECUTION WITNESS


           Your release is not authorized.
           The defendant is required to provide (check ail that apply)        O
                                                                             fingerprints under G.S 15A-502                   O
                                                                                                                   a DNA sample under G.S. 15A-266.3A.
           Prior to release, the defendant shall provide his/her (check aif that apply)     fingerprints.
                                                                                                    a        ONA sample.O
           The defendant hasbeen          [](i)
                                             charged with a felony while on probation (complete AOC-CR-272, Side One)                    O
                                                                                                                              (ii) arrested for violation of probation
           with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       a   This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
           Orderdated
           The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
           The defendant was arrested or surrendered after failing to appear as required under a prior release order.
           This was the defendant's second or subsequent failure to appear in this case.
           Your release is subject to the conditions as shown on the attached (LJaoc-cr-242.                                [JAOc-cR-630. []AOC-CR-631.
                                                                                       [Jaoc-cr-660.        other:
Additional information




Date                    Name Off Judicial Official                        Signature Of Judicial Official                          Magistrate [T]Deputycsc [{]Assistant CSC
 02/10/2023             IH     STRYFFELER                                            H B STRYFFELER                               Clerk Of Superior Court. [[]DC Judge [(] SC Juage

                                                                           ORDER OF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive n your custody the defendant named above who may be
 released if authorized above. ff the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 (]hoid him/her [L]as provided on the attached AOC-CR-272.                   for the following purpose:

           [for charges covered by G.S. 154-534.1 (domestic violence) or 15A-534.7 (threat of mass violence)] produce hinvher at the first session of District or Superior Court held in
           this coun          the entry of this Order or, if no session is held before (enter date and time 48 hours after time of
                          PM     produce him/her before a magistrate of this county at that time to determine conditions of pretrial release
Name Of Detention Facility                            Date                 Name Of Judicial Official                      Signature Of Judicial Official
LEE COUNTY JAIL                                               02/10/2023          JH B   STRYFFELER                                                 H B STRYFFELER
                                                                                             (Over)
  AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Courts
                                                                                      0015

                  Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 16 of 25
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE                                           :




 |                                                      tials or otherwise as the Court may require and to abide by any restrictions set out above.
     , the undersigned, promise to appear at all hearings,
 { understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If] am released to the custody of another person, agree to be placed in that person's custody, and that person agrees by
                                                                                 |


 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Ostandant


                                                             DEFENDANT RELEASED ON BAIL
Date                                       Time                                  Signature Of Custecian
                                                                                                          ;
                                                             LJam [Jem
                                                     CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                         Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                                 Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian
                                                                                                                -- _




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shali accompany the defendant to court for ail appearances.
 AOC-CR-200, Side Two, Rev, B24
     © 2021 Administrative Office of the Courts
                                                                            0016

                  Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 17 of 25
                                                                                                   File No
 STATE 0F NORTH CAROLINA                                                                                                 23915230002

                          LEE                                                                                  In The General Court Of Justice
                                              county                                                                  Superior Court Division
                                 STATE VERSUS
Name And Address Of Defendant

PAULINO CASTELLANOS                                                                      _
                                                                                                     |N D|CTMENT
322 WINTERLOCKEN DRIVE                                                         -




SANFORD, NC 27330

Race'                      Sex                Date Of Birth                D This is a superseding indictment.
            U                       M                  06/09/1956
                                                                                              Date Of Offense
                                         Offense(s)                                                  OR                          G.S. No.       CL.
                                                                                        Date Range Of Offense

  I, INDECENT LIBERTIES                                                                      7/6/2011 - 8/9/2017                 14-202.]       F

 II.

III.


  I. The jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county named
       above the defendant named above unlawfully, willfully and feloniously did

       take and attempt to take immoral, improper, and indecent liberties with Y.C., who was under the age of 16 years at the time, for the
       purpose of arousing and gratifying sexual desire. At the time, the defendant was over 16 years of age and at least ﬁve years older
       than that child:




 II. And thejurors for the State upon their oath present that on or about the date(s) of offense shown and in the county named
     above the defendant named above unlawfully, willfully and feloniously did




                                                                                                             23CH230002 520
                                                                                                             IND           6
                                                                                                             Indictment Issued
                                                                                                             4639
                                                                      (Over)
  AOC-CR-122. Rev. 1/13
  © 2013 Administrative'Ofﬁce of the Courts                         0017

                Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 18 of 25
II. And the jurors for the State upon their oath present that on or about the date(s) of offense shown and in the county
           named above the defendant named above unlawfully, willfully and feloniously did




                                                                       Signature Of Prosecutor


#
              a


                        ee   +                                   WITNESSES        / >                               a


Kl ]. SOTO, SANFORD POLICE DEPARTMENT                                  O
 O                                                                     O
 O                                                                     O
 O                                                                     O
    The Witnesses marked "X" were sworn by the undersigned Foreperson of the Grand Jury and, after hearing testimony, this
    Bill was found to be:

AYA TRUE BILL by twelve or more grand jurors, and the undersigned Foreperson of the Grand Jury, attest the concurrence
                                                             |




       of twelve or more grand jurors in this Bill of Indictment.
 C   1 NOT A TRUE BILL.
Date                                                                           Signature Of Grand Jury Foreperson
       2
                        3


 AOC-CR-122, Side Two, Rev. 1/13
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                   Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 19 of 25
                                                                                    Lee County Clerk of Superior Court
                                                                                                                File No.
 STATE OF NORTH CAROLINA                                                                                                    23CR230002-520

                                                                                                                       In The General Court Of Justice
                         Lee                                                                                                      x Superior Court Division
                                                   County                                                             District
 NOTE: The AOC-CR-645 (Optional Form For Criminal Judgment (District Court)) and
             other criminal judgment forms are available for use in district court cases. For
             Superior court cases, other criminal judgment forms are available for use.
                               STATE VERSUS
Name Of Defendant
Paulino Castellanos
                                                                                                           JUDGMENT/ORDER OR
Race                           Sex                       Date Of Birth                                      OTHER DISPOSITION
               H                        Male                    06/09/1956
Altorney For State                        Def. Found       Def. Waived                Attorney For Defendant                               Appointed   Crt Rptr Initials

Tiffany Barthalomew                       Not indigent     Attomey                    Nicolle T.Phair                                      Retained
Offense(s)
Bond reduction to $75,000.00 UNSECURED. With Pre trial release with electronic monitoring

  Defendant may have leave for medical appointment with prior notice. Defendant shall no contact with the victim. Defendant held
  until EM available.




                                                                     SIGNATURE OF JUDGE
Date                                 Name Of Presiding Judge (type or print)                             Signature Of Presiding Judge

         15          02/15/2023
                                          Craia                          oow;w
                                                   Material opposite unmarked squares is to be disregarded as surplusage.
  AOC-CR-305, Rev. 2/21
  © 2021 Administrative Effieg                                                 0019

                   Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 20 of 25
                               Lee County Clerk of Superior Court
                                                                          23CR230002-520

NORTH CAROLINA                                IN THE GENERAL COURT OF JUSTICE
LEE COUNTY                                    SUPERIOR COURT DIVISION
                                              FILE NO.: 23CR230002520

STATE OF NORTH CAROLINA

               vs                             REQUEST FOR ARRAIGNMENT
PAULINO CASTELLANOS,
            Defendant.


        NOW COMES the Defendant, Paulino Castellanos, by and through the undersigned
counsel, Nicolle T. Phair, pursuant to the "Law of the Land" Clause of Article I, Sections 19, 23
and 27 of the North Carolina Constitution, the Fifth, Sixth, Eighth, and Fourteenth Amendments
to the United States Constitution, and N.C. Gen. Stat. § 15A- 941, 952, 953 and hereby submits
this written request for arraignment.

This the 15" day of February 2023.

                                                              THE PHAIR FIRM


                                                      BY:    Nicolle         Chow.
                                                              Nicolle T. Phair
                                                              Attorney for the Defendant
                                                              P.O. Box 1213
                                                              Sanford, NC 27331
                                                              919-718-0078

                               CERTIFICATE OF SERVICE


This is to certify that the undersigned has this day served the attached Request for Arraignment
to the following person in this cause by:

                    X   Hand delivering a copy thereof by: Electronic Service

       Lee County District Attorney
       1400 South Horner Blvd.
       Sanford, NC 27331                          This the 16" day of February 2023.


                                                              BY:
                                                              Nicolle T. Phair




                                                 0020
          Electronically Filed Date: 2/16/2023 2:29 PM Lee County Clerk of Superior Court

    Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 21 of 25
                                                                                                File No.
 STATE OF NORTH CAROLINA                                                                        23CR230002-520
                                                                                                       In The General Court Of Justice
 Lee County                                                                                                Superior Court Division
                              STATE VERSUS
Name And Address Of Defendant
 PAULINO CASTELLANOS                                                                          NOTICE OF RETURN OF
322 WINTERLOCKEN DR                                                                            BILL OF INDICTMENT
SANFORD NC 27330-8904
                                                                                                                         G.S. 15A-630, 15A-941(d)
 To The Defendant Named Above:
 Take notice that the grand jury of the county named above has returned the attached True Bill(s) of Indictment charging you with the
 offense(s) specified.
 You are informed that there are important time limitations on your right to discovery of the evidence against you. (See G.S. 15A-902, which
 is printed on the reverse.)
 This Notice is issued upon the order of the presiding judge.
 You will be arraigned on the charges contained in this Indictment only if you file a written request for arraignment with the Clerk of Superior
 Court not later than twenty-one (21) days after the Indictment is served on you. If you do not file a written request for arraignment within
 that time, the court will enter a not guilty plea on your behalf.
 You must appear in Superior Court at the date, time and place shown below to answer the charges in this Indictment.
 NOTE: If an earlier court date is set in a release order, you must appear at that time also.
Date Of Hearing                          Time Of Hearing                   Place Of Hearing
3/13/2023                                9:30 AM                           Lee Superior Court 0002-Lee County Courthouse
                                                                           Date Issued
                                                                           2/23/2023
                                                                           Signature
  NOTE: Attach True Bill(s) of Indictment and a copy of the Order
            of Arrest, if appropriate.
                                                                           /s/ Angie Clark
                                                                           Assistant Clerk
                                                           CERTIFICATE OF NOTICE
 I certify that I issued a copy of this Notice to the defendant named above at the address shown by:
      1. Mailing it through the U.S. Postal Service.
       2. Attaching it to an Order for Arrest to be served on the defendant.
          NOTE TO COURT: An Order for Arrest shall not be issued for an indicted juvenile whose case began in juvenile court and for
                                which the district court has not yet entered an order for transfer to superior court pursuant to G.S. 7B-2200
                                or G.S. 7B-2200.5(a)(1).
                                An Order for Arrest may be issued for a juvenile indicted and subject to adult criminal court jurisdiction:
                                 pursuant to G.S. 7B-1501(7)b. (indicted for Chapter 20 motor vehicle offense).
                                 pursuant to G.S. 7B-1604(b) (i.e., the ‘once an adult, always an adult’ rule), based on a prior criminal
                                   conviction as an adult for
                                      (i) any felony or
                                     (ii) any non-motor vehicle misdemeanor or
                                    (iii) any misdemeanor or infraction involving impaired driving as defined in G.S. 20-4.01(24a).
       3. Other: (specify)




Date                    Signature
2/23/2023               /s/ Angie Clark                                    Assistant Clerk

                                                             Original-File Copy-Defendant
                                                                          (Over)
  AOC-CR-215 (ICMS), Rev. 12/19
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                                                                    0021

                  Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 22 of 25
G.S. 15A-902 Discovery Procedure
  “(a) A party seeking discovery under this Article must, before filing any motion before a judge, request in writing that the other party
       comply voluntarily with the discovery request. A written request is not required if the parties agree in writing to voluntarily comply
       with the provisions of Article 48 of Chapter 15A of the General Statutes. Upon receiving a negative or unsatisfactory response,
       or upon the passage of seven days following the receipt of the request without response, the party requesting discovery may file
       a motion for discovery under the provisions of this Article concerning any matter as to which voluntary discovery was not made
       pursuant to request.
  (b) To the extent that discovery authorized in this Article is voluntarily made in response to a request or written agreement, the
      discovery is deemed to have been made under an order of the court for the purposes of this Article.
  (c) A motion for discovery under this Article must be heard before a superior court judge.
  (d) If a defendant is represented by counsel, the defendant may as a matter of right request voluntary discovery from the State
      under subsection (a) of this section not later than the tenth working day after either the probable-cause hearing or the date the
      defendant waives the hearing. If a defendant is not represented by counsel, or is indicted or consents to the filing of a bill of
      information before the defendant has been afforded or waived a probable-cause hearing, the defendant may as a matter of right
      request voluntary discovery from the State under subsection (a) of this section not later than the tenth working day after the later
      of:
        (1) The defendant’s consent to be tried upon a bill of information, or the service of notice upon the defendant that a true bill of
            indictment has been found by the grand jury, or
        (2) The appointment of counsel.
        For the purposes of this subsection a defendant is represented by counsel only if counsel was retained by or appointed for the
        defendant prior to or during a probable-cause hearing or prior to execution by the defendant of a waiver of a probable-cause
        hearing.
  (e) The State may as a matter of right request voluntary discovery from the defendant, when authorized under this Article, at any
      time not later than the tenth working day after disclosure by the State with respect to the category of discovery in question.
  (f)   A motion for discovery made at any time prior to trial may be entertained if the parties so stipulate or if the judge for good cause
        shown determines that the motion should be allowed in whole or in part.”



G.S. 15A-941(d) Arraignment Before Judge Only Upon Written Request
 “(d) A defendant will be arraigned in accordance with this section only if the defendant files a written request with the clerk of
      superior court for an arraignment not later than 21 days after service of the bill of indictment. If a bill of indictment is not required
      to be served pursuant to G.S. 15A-630, then the written request for arraignment must be filed not later than 21 days from the
      date of the return of the indictment as a true bill. Upon the return of the indictment as a true bill, the court must immediately
      cause notice of the 21-day time limit within which the defendant may request an arraignment to be mailed or otherwise given to
      the defendant and to the defendant’s counsel of record, if any. If the defendant does not file a written request for arraignment,
      then the court shall enter a not guilty plea on behalf of the defendant.”




AOC-CR-215 (ICMS), Side Two, Rev. 12/19
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                                                                 0022

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                                                                                                File Noe
 STATE OF NORTH CAROLINA                                                                           23CR230002-520
                                                                                                In The General Court Of Justice
 Lee County for Lee County                                                                   Superior Court Division


Name And Mailing Address Of Defendant
CASTELLANOS, PAULINO                                                                                APPEARANCE BOND
322 WINTERLOCKEN DR
SANFORD NC 27330-8904
                                                                                                             FOR
                                                                                                       PRETRIAL RELEASE
                                                                                                                                         G.S. 15A-531. 15A-534. 15A-544.2
Telephone Nor O! Defendant                   Total Bond Required                            Amount Of This Bond                        Bond No,
                                             75,000.00                                      75,000.00                                  23 8007448
File Numbers And Offenses
 23CR230002-520                               INDECENT LIBERTIES WITH CHILD
                                              ATTEMPT lST DEGREE SEX OFFENSE




ED
     See Additional File Numbers And Offenses on Side Two, for which appea rance is secured by this Bond.
     Unsecured Appearance Bond- | the undersigned defendant acknowledge that my personal representatives and l are bound to pay the State of North
     Carolina the sum shown above subject to the conditions of this Bond stated on the reverse side.
                                                          DEFENDANT AND SURETY SIGNATURES
Date Of Execution Of Bond                                                                   Signature Of Defendant (required for all a peemnce bonds)
02/23/2023                                                                                                         a                   W :3
Signature Of Surety                                                                         Signature Of Surety'


 SWORNIAFFIRMED AND SUBSCRIBED TO BEFORE ME                                                  SWORNIAFFIRMED AND SUBSCRIBED TO BEFORE ME
Date                                    ur                                                                                 Signature
                                                                                            pate
02/23/2023                   ¢
  E Magistrate D Deputy CSC             Assistant C            Clerk OI
                                                                          Supe/riopMt
                                                                                              D Magistrate D Deputy csc D Assistant csc D Cieik or Superior Court
  D Custodian Oi Detention Facility (G. S. 15A-537(c2[                                        D Custodian Of Detention Facility [G.S. 15A-537(c;]
NOTE: if cash deposited see notes on reverse side. (see AOC-CR-238 it release               Original   -
                                                                                                           File
  AOC-CR-201 (ICMS), Rev. 2/21                           afterjudgment in superior court)     (Over)
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                                                                                   0023

                 Case 1:23-cv-00423-WO-JLW Document 94-5 Filed 04/09/24 Page 24 of 25
                                                                                  CONDITIONS
                                                     a



                                                                                                             [--

The conditions of this Bond are that the above named defendant shall appear in the above entitled action(s) whenever required It is agreed and understood
that this Bond is effective and binding upon the defendant and each surety throughout all stages of the proceedings In the trial divisions of the General Court
of Justice until the entry ofjudgment in the district court from which no appeal is taken or until the entry of judgment in the superior court. unless terminated
earlier by operation of law or order of the court. If the defendant appears as ordered until termination of the Bond. then the bond is to be void. but if the
defendant fails to appear as required. the Court will rorreit the bond pursuant to Part 2 of Article 26 of Chapter 15A of the General Statutes.
Each accommodation bondsman. by signing on the reverse or on the attached AOC-CR-201A, states: "I have reached the age of 18 years and am a bona
tide resident of North Carolina. Aside from love and affection and release of the above named defendant. l have received no consideration for acting as
surety. I own sufﬁcient property over and above all liabilities. homestead and other exemptions allowed me by law to enable me to pay this Bond should it
be ordered forfeited. I understand that if sign this Bond without sufﬁcient property. l am guilty of a crime.'
                                                 I




                                             i            ADDITIONAL FILE NUMBERS AND OFFENSES                                       I
Additionar File Numbers And Offenses




D See Additional File Numbers And Offenses on attached AOC-CR-ZotA Side Two. for which appearance is secured by this Bond.
                                                                             |
                                                                                  AFFIDAVIT              I

NOTE: 'Proressiona! bondsmen. surety bondsmen (bail agents]. and runners shall ﬁle with the clerk of court having jurisdiction over the principal an afﬁdavit an a form furnished
                                                '
      by the Administrative Ofﬁce o! the Courts. GS. 58-71-14otd). Check all options that apply.
D 1. have not. nor has anyone for my use. been promised or received any collateral. security or premium for executing this Bond.
       I



D 2. have been promised a premium in the amount shown below. which is due on the date shown below.
       I



D 3. have received a premium in the amount shown below.
       I



D 4. have been given collateral security by the person named below. of the nature and in the amount shown below.
       I




Amount OI Premium Promised                                 Date Premium Due               Amount 0t Premium Received
S                                                                                         S

Name or Person From Whom Collateral Received               Nature or Corrateral                              Value


                                                                                                                                         AFFIX BONDSMAN'S SEAL
                                                                                                                                         OR POWER OF ATTORNEY
                                                                                                                                            CERTIFICATE HERE




                                         I
                                                         RETURN OF CUSTODIAN OF DETENTION FACILITY                                       I                     .
The defendant named on the reverse was released from my custody on the date shown below upon the execution oft his Appearance Bond.
Date Defendant Released        Name O! CustodIan (type or print}           Signature or                        D Snenw D Deputy Siren?!
      1/23 /23                                               VI.                                         Custodiag                           Othe   't-ntt
NOTES ON CASH BONDS:                                                                                    /
(I) To omelet Taking The Bond Use this form (or all cash bands. Complete this form as follows:
    When Cash Deposited By Defendant Or By Another Person Who Intends For The Cash To Be Used To Satisfy The Defendant's Obligations.
    Enter defendant's name, address and telephone number at the top of Side One. Check "Cash Appearance Bond By Defendant. " Have defendant sign.
                                                                                                                                                  "
     Do no more. No other person 's name should appear on this form. Enter your name. sign and enter receipt number under 'COmptete If Cash Deposited.
     Make receipt out to DEFENDAN'I', not lo any other person.
     When Cash Deposited By Another Person Who Does NOT Intend For The Cash To Be Used To Satisfy The Defendant's Obligations.
                                                                                                                         "
     Enter defendant's name, address and telephone number at the top of Side One. Check "Surety Appearance Bond. Have defendant sign. Enter name,
                                                                                                                                                          "
     address end telephone number of person depositing cash under "Accommodation Bondsman." Have that person sign under "Signature Ol Surety.
                                                                                                                                   "
     Complete   notarization for that person. Enter your name, sign  and enter receipt number   under "Complete If Cash Deposited.   Make receipt out to person
     depositing the cash.
 (2} To Bookkeeper. if case disposed without forfeiture, disburse cash as follows: (1) if 'Cash Appearance Bond By Defendant" checked on Side One,
     disburse to defendant or apply to defendant's obligations if court so orders. (2) ll "Surety Appearance Bond" is checked on Side One. disburse only
                                                                   "
     to the person(s) named under 'Accommodetion Bondsman.
(3) Bond By Insurance Company Or Professional Bondsman As Surety ls Same As Cash Except In Child Support. G. S. 15A-531t4) provides that
     an appearance bond executed by en insurance company or e professional bondsman (or a bail agent or runner on behalf of one of those sureties) is
     considered the same as a cash deposit. except in child support contempt proceedings for which only cash may satisfy a cash bond requirement.
   AOC-CR-ZOI (ICMS). Side Two. Rev. 2/21
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